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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :       Case No. 21-CR-686 (RDM)
                                               :
NATHAN WAYNE ENTREKIN,                         :
                                               :
       Defendant.                              :

                 GOVERNMENT’S MEMORANDUM IN OPPOSITION TO
                 MOTION FOR EARLY TERMINATION OF PROBATION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this opposition to defendant Nathan Wayne

Entrekin’s Motion for Early Termination of Probation, ECF No. 41. In support of this opposition,

the government relies on the following factual and legal authorities, as well as any that may be

offered at a hearing on this motion.

       On January 6, 2021, while members of Congress gathered in the United States Capitol to

certify the results of the 2020 presidential election, Entrekin joined a mob on the restricted grounds

of the U.S. Capitol, pushed his way forward to West Front of the Capitol, breached the Capitol

twice, twice invaded private offices inside the Capitol, and made statements like “We can’t let

Biden . . . to be our president. We can’t . . . there’s no way.” ECF No. 28, pp. 1-26 (Attachment

A). For this conduct, Entrekin pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(G): Parading,

Demonstrating, or Picketing in the Capitol Building. On May 6, 2022, then-District Judge Florence

Y. Pan, now sitting on the D.C. Circuit, sentenced Entrekin to forty-five days of incarceration

followed by a three-year term of probation. ECF No. 34.1


1
  The Court sentenced Entrekin to a “split sentence”—a term of imprisonment and a term of
probation—under 18 U.S.C. § 3561(a)(3). On August 18, 2023, a split panel of the United Stated
Court of Appeals for the District of Columbia Circuit, in United States v. Little, 74 F.4th 453 (D.C.
Cir. 2023), vacated Little’s “split sentence” and on that same date issued an order to withhold


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       Entrekin has served his 45-day prison term, which ended on July 29, 2022. He now asks

this Court to terminate his three-year term of probation, having served less than one year of the

term. “[A]fter considering the factors set forth in section 3553(a) to the extent that they are

applicable” along with “the conduct of the defendant and the interest of justice” (18 U.S.C.

§ 3564(c)), this Court should honor the carefully crafted sentence of Judge Pan and deny

Entrekin’s motion for early termination of probation.2

I.     FACTUAL BACKGROUND

       As recounted in the government’s Sentencing Memorandum (ECF No. 28, pp. 1-26), on

January 6, 2021, Entrekin drove by himself from Cottonwood, Arizona, to Washington, D.C.

Entrekin admits that he did so to protest Congress’ certification of the Electoral College. In a post

from a banned and subsequently reactivated Twitter (now X) account, Entrekin announced his

plans to attend the rally on January 6 dressed up as Captain Moroni, a character which Entrekin

associates with fighting against authority.




issuance of the mandate. Little, Case No. 22-3018 (D.C. Cir. Aug. 18, 2023) (Order No. 2013130).
The U.S. Attorney’s Office is in receipt of the decision and actively reviewing options, but
maintains that split sentences, such as this one, should stand while the government is legally
permitted to weigh its options in responding to this decision.
2
  The Probation Office has advised the undersigned that it also opposes Entrekin’s motion.
Attachment B. As stated in their letter, “the Probation Office is not in support of Entrekin’s motion
for early termination of supervision at this time. He recently relocated to the Phoenix area, and
additional time is needed to ensure the transition does not disrupt his stability. On a larger scale,
his continued online presence and actions are concerning given the nature and circumstances of
the underlying offense and his involvement in the political unrest in the 2020 election.”


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IMAGES 1-4—(top left) A screenshot of Entrekin’s Twitter (now X) account from December 31, 2020, announcing
his intent to go to Washington, D.C., on January 6, 2021; and three additional photographs of Entrekin dressed up as
Captain Moroni taken on or near Capitol Grounds in Washington, D.C., on January 6, 2021.



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        On January 6, 2021, at approximately 2:42 p.m., a group of rioters breached a fire door

next to the Senate Parliamentarian’s Office—referred to as the Parliamentarian’s Door. The rioter

who caused that breach did so by using a metal walking cane to break out one of the windows. As

described in greater detail below, Entrekin participated in that breach by entering through the

Parliamentarian’s door at approximately 2:57 p.m. Various surveillance and open-source

intelligence (OSINT) images and videos from around the time and at that location show that the

way the rioters gained entry was through chaotic and violent throngs.




IMAGE 5—An open-source intelligence (OSINT) map created by private citizens—known by their handles
@ne0ndistraction and @sansastark525—and available at https://jan6attack.com/maps.htm. All time shown on USCP
CCV screenshots are in Coordinated Universal Time (UTC), where, for example, 19:42 is equal to 2:42 p.m.




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                                        VIDEO #13
                                 January 6, 2021, 1:55 PM 4
       A video recovered from Entrekin’s cellphone. At the time of filming, Entrekin appears to
have been making his way up the Pennsylvania Walkway towards the Capitol.

ENTREKIN:                 [to another protester] What happened? Pence? Oh, he did?
PROTESTER #1:             He’s a sellout. He’s selling out.5
ENTREKIN:                 Okay we’re pushing. Push! Okay, I’m sorry, I’m going to push you,
                          we’re pushing.
                          I’m here, Mom! This is my flag.




IMAGE 6—A screenshot from a video recovered from the defendant’s phone. The screenshot shows the flag that the
defendant brought to the Capitol on January 6, 2021, and that the defendant referred to as the Title of Liberty. The
red star on the map to the right shows Entrekin’s approximate location at the time the video was recorded.


3
  All video files will be submitted to the Court for its consideration simultaneous to the filing of
this Response in Opposition.
4
    Times are approximate and based on the names of the video files recovered.
5
  Based on the approximate time at which this video was taken, defendant and the unidentified
protester are likely referring to the news that Mike Pence had recently released an official statement
in which he stated that he would not interfere with the certification of the vote. See
https://www.cbsnews.com/news/read-pence-letter-saying-he-lacks-authority-to-decide-election/.


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ENTREKIN:               They’re doing tear gas right, uh, in the front, into the crowd, and it’s
                        coming over here it looks like a little bit. We’re trying to push, I’m
                        sorry, let’s push, are we pushing? Oh, we gotta be careful. Shit. Aw
                        fu . . . Oh come on. I think we’re . . . there’s . . . We’re packed pretty
                        good in here. There are so many people in here.
                        This is awesome.
CROWD:                  [cheering as an unidentified individual with a flag appears atop the
                        northwest inaugural scaffolding]




IMAGE 7—A screenshot from a video recovered from the defendant’s phone. The screenshot shows the crowd
cheering as an unknown individual with an American flag reached the top of the northwest scaffolding of the
Inauguration Stage.




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ENTREKIN:            Who is that, Ted Cruz? Ted Cruz? Who is that, Ted Cruz? I think it
                     was just a dude, wasn’t it?
CROWD:               [repeating] U-S-A! U-S-A!
ENTREKIN:            U-S-A! U-S-A, baby! Freedom!
CROWD:               [repeating call and answer] Whose house? Our house!
ENTREKIN:            Sorry, sorry, my arm’s in the way. Are we going? Are we going? Are we
                     going up? Are we going up? This is a good workout. Forward, forward,
                     forward.
                                           VIDEO #2
                                    January 6, 2021, 2:30 PM
       A video recovered from Entrekin’s cellphone. At the time of filming, Entrekin appears to
have been at the top of the steps that lead under the NW Scaffolding and standing on the NW
Terrace at a vantage point that allowed him to look out over the NW Lawn and the West Lawn.

ENTREKIN:            I made it Mom. I made it to the top. Mom, look, I made it to the top,
                     to the top here. Look at all the patriots here. Haha, if I can make it
                     up that, anybody can. [laughs] Oh man. Look at all the patriots here.
                     Patriots, patriots, patriots. Look at all the people, Mom. Look at all
                     that down there. And the monuments over there, way over there. I
                     gotta catch my breath here. Sorry. Haha.
                     [yelling to an unseen protester] Captain Moroni! Same fight, same
                     place, different time. 76 B.C.!
                     I’m here for Trump. Four more years, Donald Trump! Our rightful
                     president!
                     I made it to the relative top, anyway. Oh my gosh, how many of us
                     are here? Must be like, millions. Couple million, maybe. I keep
                     running into trees, though. I gotta get this first, though, before my
                     costume falls off me. Check this out, Mom. All those people.




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IMAGE 8—A screenshot from a video (VIDEO 2) recovered from the defendant’s phone. The screenshot shows the
crowd as recorded by the defendant after he reached an upper level of the west side of the Capitol. The defendant
estimated that there were one or two million protesters in attendance.


ENTREKIN:                 Oh, wow. That’s not bad. That might be a million.
PROTESTER #2:             Hey Caesar!
ENTREKIN:                 Captain Moroni!
PROTESTER #2:             You look great man.
ENTREKIN:                 Thank you! Sorry, I’m falling apart. I’m actually . . .
PROTESTER #2:             How’d you get up here with that sword, anyhow?
ENTREKIN:                 I made it. I don’t know how I made it. I went the hard way. Oh, man,
                          I made it.
PROTESTER #3:             Well, the Rubicon just keeps getting wider and wider, eh?
ENTREKIN:                 Yeah, this is Captain Moroni of the Book of Mormon. The same
                          fight, same place, if you believe the Book of Mormon, the Nephites
                          and Lamanites lived here . . .




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                                            VIDEO #3
                                    January 6, 2021—2:41 PM
        A video recovered from Entrekin’s cellphone. At the time of filming, Entrekin appears to
have been standing at the NW corner of the Capitol. Just out of frame to the right is the NW Plaza
which has both the Parliamentarian’s Door and Senate Wing Door breach points. Just out of frame
to the left is the North Door breach point.

ENTREKIN:                Here comes the riot police, Mom.




IMAGE 9—A screenshot from a video recovered from the defendant’s phone. The screenshot shows a crowd gathering
at the northwest corner of the Capitol.




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  Four USCP Screenshots Showing What the Approach to the NW Plaza Looked Like at the
                        Time Entrekin was on the NW Terrace




IMAGE 10 and IMAGE 11 (top to bottom)—Screenshots from USCP CCV showing the West Lawn and West Plaza
as they appeared on January 6, 2021, at 2:42 p.m., the approximate time that a group of rioters were breaching the
Parliamentarian’s Door.




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IMAGE 12 and IMAGE 13—Screenshots from USCP CCV showing the (top) Northwest Lawn, Pennsylvania Lawn,
Northwest Terrace, and the north side of the West Plaza; and (bottom) the Northwest Terrace and Northwest Plaza
as they appeared on January 6, 2021, at 2:42 p.m., the approximate time that a group of rioters were breaching the
Parliamentarian’s Door. The Parliamentarian’s Door is indicated with a red arrow. The Senate Wing Door—the first
breach point of the Capitol—and the two windows flanking it can be seen in the background just above the heads of
the rioters.



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                                            VIDEO #4
                                   January 6, 2021—2:45 PM
        A video recovered from Entrekin’s cellphone. At the time of filming, Entrekin appears to
have been making his way from the NW corner of the Capitol back towards the NW Plaza. Entrekin
appears to have been enjoying the attention his costume was drawing and was speaking to those
who would listen about how he was Captain Moroni, not Caesar, and why that was significant to
his presence at the Capitol on January 6, 2021.

ENTREKIN:               Here we are again. That’s the Capitol, right there. And I’m gonna
                        start doing my thing now again. [points to flag] So, there we go.




IMAGE 14—A screenshot from a video recovered from the defendant’s phone. The screenshot shows the defendant
while he was narrating events for his mother.




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       As shown in the USCP CCV screenshots, approximately fifteen minutes after the

Parliamentarian’s Door was breached at 2:42 p.m., Entrekin entered the Capitol.




IMAGE 15 and IMAGE 16—Screenshots from USCP CCV showing Entrekin entering the Capitol through the
Parliamentarian’s Door at approximately 2:57 p.m.



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                                          VIDEO #5
                                  January 6, 2021—2:58 PM
       A video recovered from Entrekin’s cellphone. At the time of filming, Entrekin had
breached the Capitol for the first time. He narrates much of the mayhem and destruction he
observes.

CROWD:                    [alarms blaring] [repeating call and answer] Whose house? Our
                          house!
ENTREKIN:                 I’m inside. I’m inside. I’m inside the, I’m inside the Capitol now.
                          [joining in the chanting] OUR HOUSE!
                          [pans video to a male protester without a shirt]
                          Hi! Oh shoot, it’s wet over here. It’s very wet. What happened in
                          here? Oh my gosh.
                          [repeating buzzing sound]
ENTREKIN:                 What’s that sound? Huh? Taser? That’s a taser? What, a
                          machinegun taser? Hahaha! Something’s going on, they’re pushing
                          us back out. Some kind of machinegun taser or something. I don’t
                          know what the hell is going on. I want to go in here though.
                          [enters Senate Parliamentarian’s office]
                          Oh shit. Oh Mom. I don’t think you want to be here, Mom. I mean
                          you do want to be here, but in spirit. Yeah, haha. Oh my gosh. Oh
                          my gosh. What happened?




IMAGE 17—A screenshot from a video recovered from the defendant’s phone. The screenshot shows the interior of
the Senate Parliamentarian’s office at approximately 2:59 PM on January 6, 2021. An unidentified individual can be
seen putting their feet on a desk and another unidentified individual can be seen standing close by.
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ENTREKIN:                 Holy shit. Oh my gosh, they broke the . . . oh shoot, they looted. Oh
                          shit. I gotta go. We gotta go, we gotta get out of here.




IMAGE 18—A screenshot from a video recovered from the defendant’s phone. The screenshot shows the interior of
the Senate Parliamentarian’s office at approximately 2:59 PM on January 6, 2021. Several unidentified individuals
and an American flag can be seen outside of a broken window.

ENTREKIN:                 We gotta go. Oh shit. We gotta, we gotta go. Rubber bullets, rubber
                          bullets. Shit! Can we get out that way? No? Oh shit. Oh shit.
                          C’mon you guys, c’mon you guys. We got faith in you. I have faith
                          in you. Press it out, press it out. Let us out you guys. Press it out.
                          C’mon. Stay calm. We got it, we got it, we got it. Stay calm guys.
                          Don’t worry, we got it. We’re coming out, we’re coming out. Stay
                          calm. We’re moving, we’re moving. Stay calm back there. Stay
                          calm. Good job, guys, good job.
                          [alarms blaring]




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IMAGE 19—Screenshot from USCP CCV showing Entrekin exiting the Capitol through the Parliamentarian’s Door
at approximately 3:01 p.m.


                                           VIDEO #6
                                    January 6, 2021—3:01 PM
        A video recovered from Entrekin’s cellphone. At the time of filming, Entrekin was once
again in the NW Plaza, having been pushed out from that breach point by other rioters. Even
though just moments ago he had expressed high levels of distress and dismay at the destruction
and mayhem he saw, in the Parliamentarian’s Office, before he even reached the exit, he was back
to smiling and taking videos. As those around him chanted about how traitors (meaning USCP and
members of Congress) get the rope, Entrekin was laughing about how someone stole a bottle of
alcohol.

PROTESTER #4:           Traitors get the rope!
ENTREKIN:               They had rubber bullets. Haha. He took whiskey. That guy’s got a
                        whiskey bottle.




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IMAGE 20—A screenshot from a video recovered from the defendant’s phone. The screenshot shows an unidentified
individual holding a bottle of amber liquid as he leaves the Capitol through the door just outside the Senate
Parliamentarian’s office.

ENTREKIN: They raided this office. They broke the windshields right here.




IMAGE 21—A screenshot from a video recovered from the defendant’s phone. The screenshot shows an unidentified
individual draped in an American flag standing by a broken window of the Capitol.



PROTESTER #5:            [using bullhorn] Come on in! Bring it in!


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IMAGE 22—A screenshot from a video recovered from the defendant’s phone. The screenshot shows an unidentified
individual holding a bullhorn and encouraging other protestors to enter the Capitol.

ENTREKIN:                Why can’t you people just do what we want? Why do you gotta
                         make it so hard? Why do you take our money and use it for nefarious
                         purposes? Every man woman and child should have a house in this
                         free nation. We should not have homeless at all. We’re a rich enough
                         nation everyone can have a house of their own. $600 my ass. Get us
                         a fuckin’ house! Buy us houses! You shut us down and you stay up?
                         You keep our money? I know, my mom’s gonna hear that. Sorry,
                         Mom. I dropped some f-bombs. Hahaha.
        While Entrekin never specifically states to whom he is directing this diatribe, it appears to

be generally towards member of Congress.

                                         VIDEO # 7
                                 January 6, 2021—3:03 PM
        A video recovered from Entrekin’s cellphone. At the time of filming, Entrekin appears to
have been making his way towards the Senate Wing Door, which had by this time been breached
for a second time.

CROWD:                   [chanting] Traitors get the rope!
ENTREKIN:                I’m deeply saddened, and yet I’m deeply humbled at the same time.
                         I’m sad yet I’m happy. Yeah. We the People . . .




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Entrekin had left the Parliamentarian Door of the Capitol at approximately 3:01 p.m. Just a few

minutes later, he was happily reentering through the Senate Wing Door.




IMAGE 23/23a—Screenshot from USCP CCV showing Entrekin reentering the Capitol through the Senate Wing
Door at approximately 3:07 p.m.

                                            VIDEO # 8
                                     January 6, 2021—3:08 PM
        A video recovered from Entrekin’s cellphone. At the time of filming, Entrekin was walking
south towards the Crypt on the first floor of the Capitol. The whole time Entrekin was cracking
jokes, telling others about his costume, and talking about why he believed Captain Moroni would
be a part of the Capitol Siege.

ENTREKIN:               Looks like I went to the other side. I guess this is the other side here.
                        [chanting with crowd] U-S-A! U-S-A!




IMAGE 24—A screenshot from a video recovered from the defendant’s phone. The screenshot shows the defendant
who is recording himself while chanting U-S-A, U-S-A.


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ENTREKIN:              [chanting to the crowd’s rhythm of U-S-A] No more Taco Bell. I’m
                       too fat. Hahaha.
PROTESTER #6:          Where are the traitors? Bring them out!
ENTREKIN:              U-S-A! Wow, wow! This is a big-ass place. Where’s my ice cream,
                       Nancy?6 Hahaha.
                       Hello? Can, uh, are we coming in? What’s in there? What’s in there?




IMAGE 25—A screenshot from a video recovered from the defendant’s phone. The screenshot shows what the
defendant recorded as he entered the Capitol’s Crypt.

ENTREKIN:              [enters Crypt] Oh wow. [inaudible] This is our house! Wow, Mom.
                       I wish you were here with me. It’s really exciting in here. It’s joyful
                       and it’s sad at the same time.
                       We can’t let Biden . . . to be our president. We can’t . . . there’s no
                       way.
PROTESTER # 7:         Hail Caesar!
ENTREKIN:              Peaceful, peaceful, peaceful. FREEDOM!



6
  This and subsequent references to Nancy Pelosi and ice cream may be a reference to a widely
shared video in which House Speaker Nancy Pelosi tells The Late Late Show’s host James Corden
about her freezer that she keeps stocked with ice cream. https://twitter.com/SpeakerPelosi/
status/1250080704446238725.


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CROWD:          [chanting] U-S-A! U-S-A! Our house! Our house!
ENTREKIN:       Our house! Our house!
ENTREKIN:       We gotta make way for the others. Make way for the others. There’s
                more of us. We gotta take turns, we’re taking turns guys. We gotta
                take turns.
                [to another protester] Captain Moroni. The Book of Mormon. The
                William Wallace of the Book of Mormon. Captain Moroni. Alma
                Chapter 46. But I’m here for freedom, and you’re here for freedom.
                FREEDOM!
CROWD:          FREEDOM!
ENTREKIN:       We are not antifa.
PROTESTER #8:   I like your outfit.
ENTREKIN:       I wish I wasn’t so damn fat. Hahaha.
PROTESTER #8:   Well, it’s okay.
ENTREKIN:       I’m representing Captain Moroni, Captain Moroni of the Book of
                Mormon. A William Wallace figure of the Book of Mormon.
PROTESTER #8:   Wow!
ENTREKIN:       Captain Moroni, uh, was a Freeman, fighting for the free cause
                against the King-Men.
PROTESTER #8:   You’re a Mormon?
ENTREKIN:       Yes, uh, LDS, Mormon.
PROTESTER #8:   I gotta go this way. [indicating a direction opposite of the defendant]
ENTREKIN:       Okay.
PROTESTER #8:   Nice to meet you.
ENTREKIN:       Nice to meet you. Can I go in here? [indicating Room S140, Sen.
                Jeff Merkley’s (D-OR) Office]
                [shouting to the protesters inside Room S140] Where’s my ice
                cream?




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IMAGE 26—A screenshot from a video recovered from the defendant’s phone. The screenshot shows two unidentified
individuals inside Room S140 after the defendant went through the door.
ENTREKIN:                [to a protester] I just went in there, where’s my ice cream? Hahaha.
                         I want my ice cream! Nancy, where’s my ice cream?!
CROWD:                   Stop the steal! Stop the steal!
PROTESTER #9:            Antifa never did this shit!
ENTREKIN:                Nope, nope. That’s true. That’s true. Nope, you’re right.
                         All right, I guess uh with respect to the people that are coming in I
                         gotta get out. We got more people who want to come in, we gotta
                         respect that too, you know.
                         Ope, sorry you guys. Uh, well, whoa. Alright. I’m glad they’re not
                         doing rubber bullets anymore. They were on the other side. I
                         should’ve bought that centurion helmet after all. Alright. Gotta go,
                         mom. Yo!
        During the non-custodial interview of Entrekin on February 2, 2021, he made several

claims that are inconsistent with the videos that he recorded and narrated for his mother. For

example, Entrekin claimed that he was not aware that he was not allowed in the Capitol. Entrekin

further claimed that individuals were basically being herded into the building. Entrekin further




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claimed that his experience inside the Capitol was “solemn” and “revered,” and that when he

observed broken glass and the looting of offices, he felt the need to depart the Capitol immediately.

       These claims are inconsistent with the fact that the defendant identified early in the first

video he recorded that he could see and smell tear gas (Video 1). Entrekin also made a point of

narrating to his mother when the “riot police” arrived (Video 3).

       When the defendant first entered the Capitol through the Senate Parliamentarian’s Door,

one can hear an alarm blaring, he saw water on the floor, he said that “they” were pushing the

crowd back out, not in. Entrekin further told his mother through the recorded video that he heard

what he identified as “machinegun tasers” (Video 5). Still, he pushed forward and entered the

Senate Parliamentarian’s office.

       Inside the Parliamentarian’s office, Entrekin recorded destruction and what he described

as looting. He recorded the papers strewn about and broken windows, and he expressed distress.

Entrekin further began shouting that police officers were using rubber bullets. Only at this time

did Entrekin leave the Capitol for the first time. He would reenter a short time later.

       Before reentering the Capitol, and while standing in the Northwest Plaza, Entrekin laughed

about a bottle of whiskey that he thought had been stolen from the Parliamentarian’s office (the

defendant misidentified it as Nancy Pelosi’s office); he recorded protesters chanting, “Traitors get

the rope!”; and he himself harangued members of Congress, stating, “Why can’t you people just

do what we want? Why do you gotta make it so hard? Why do you take our money and use it for

nefarious purposes?” Still, he pushed forward.

       By approximately 3:08 p.m., and despite the ditress he claims to have felt when seeing the

Parliamentarian’s Office torn apart, Entrekin was back inside the Capitol, once again joining in

chants of U-S-A! U-S-A! and “Whose house?” “Our house!” (Video 8). Entrekin reiterated to other




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persons what role he saw himself as playing that day, referring to Cpt. Moroni’s fight against the

King-Men and to William Wallace’s fight for freedom.

       Entrekin pushed his way into Sen. Jeff Merkley’s office and shouted that he wanted ice

cream. Entrekin agreed with another protester who stated, “Antifa never did this shit!”

Additionally, and importantly, Entrekin stated while inside the Capitol, “We can’t let Biden . . . to

be our president. We can’t . . . there’s no way.”

       In total, Entrekin spent approximately thirteen minutes inside the Capitol, but several hours

on restricted grounds. Entrekin saw the destruction inside the Parliamentarian’s Office, was forced

out with the rest of the rioters from the Parliamentarian’s Office corridor and reentered just a few

minutes later after giving a speech to no one in particular in the NW Plaza, ‘Entrekin admitted at

his change of plea hearing that he knew both times he entered the Capitol that he did not have

permission or authority to do so. Entrekin further admitted that while inside the Capitol, he

paraded, demonstrated, or picketed.

       At his sentencing hearing, Entrekin claimed to be remorseful, but mixed in with his claims

were continued conspiratorial assertions that the “election results [ . . . ] were tampered [with].”

ECF No. 39, p. 50, ln. 20-25. He also asserted that his 2015 conviction for threatening to kill his

neighbor had to do with researching “the three-letter agencies” and their use of “directed energy

weaponry and electronic harassment.” ECF No. 39, pp. 51, ln. 23-25; p. 52, ln. 1-10.

       Entrekin’s social media posts since his conviction demonstrate that Entrekin continues to

follow conspiracy theories, poses a risk of future criminal activity, and should not be granted early

termination of his probation. For example, immediately after being released from jail, Entrekin

demonstrated his lack of remorse, posting, “Yay! I'm OUT! I dedicate my 45 days in Federal

prison and 3 yrs. probation to the true patriots who are, have been, and will be a part of making




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our blessed nation great again. God be with you all. To those still in captivity for the wrongs of

government - peace be unto you.”7 In the comments below, Entrekin talks about his plans to

continue dressing up as Captain Moroni, and agrees with another individual that posts,

“Congratulations & fuck the Department of Injustice!” He does so by stating, “Our sentiments are

quite indubitably congruent, I must say . . . yes, yes.        ”8

         On that same day, July 31, 2022, Entrekin replied to several posts from local and national

politics with variations of the same message conveying his lack of remorse for his criminal offense:

         Thank you Marjorie for all that you do! I know that my ‘just completed’ 45 days
         (and 3 years probation) will never be in vain toward the cause of TRUTH. The
         January 6 rally will forever be noted as a call against tyranny and election injustice.
         God bless you and OUR USA!9

         Thank the Lord for you good patriots. Captain Moroni (aka me) is finally FREE!
         45 days and 3 yrs probation for the cause of truth. Thanks to everyone for all of
         your support. God bless the USA.10

         A few months later, Entrekin proudly posted on Instagram a picture of himself dressed as

Captain Moroni on January 6, 2021, next to an illustration of the Mormon religious figure. He

included the caption, “Does the pursuit of true justice lie before us?”11 Just after that, in October

2022, Entrekin attended a political rally in Mesa, Arizona, once again wearing his full Captain

Moroni cosplay outfit and carrying his Title of Liberty bedsheet. See Image 27. While Entrekin is,

of course, welcome to attend whatever rallies he wants dressed however he deems appropriate,




7
    https://twitter.com/nentrekin73/status/1553832290953744384
8
    https://twitter.com/nentrekin73/status/1558602450931552258
9
    https://twitter.com/nentrekin73/status/1553837875556257792
10
     https://twitter.com/nentrekin73/status/1553834306677551105
11
     https://www.instagram.com/p/Chn5UYspl72/


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this is worth mentioning when one recalls how Entrekin described his view of Captain Moroni

while on the restricted grounds of the U.S. Capitol.12

ENTREKIN:              I am Captain Moroni. I am the William Wallace13 of the Book of
                       Mormon. In the Book of Alma of the Book of Mormon, a freedom
                       fighter named Captain Moroni fought for his freedom against the
                       King-Men. He was a Freeman, part of the Freemen movement. And
                       around, I like to say 76 BC because 1776 sounds so—is so popular—
                       but before Christ came to Jerusalem, in this land, the Book of
                       Mormon is about this land, right? The same fight for freedom, this
                       land, the same land, right here, upon which we stand, the native
                       American Indians they have Jewish DNA, descent. I can tell you
                       about, you can Google that, the Algonquin Indians have Native
                       American, have, uh, Jewish descent in their DNA, there’s evidence
                       of the Book of Mormon. I don’t want to get too much into that. I’m
                       here for freedom. You’re here for freedom. Captain Moroni ripped
                       his coat and he wrote this message right here. And if I can get it
                       open, it says . . .

INTERVIEWER:           What does it say?

ENTREKIN:              It says: In memory of our God, and our religion, and our freedom,
                       and our peace, our wives, and our children. And it was called the
                       Title of Liberty, and he held it up high when he fought against the
                       King-Men, and they slayed the King-Men.

                       Babylon was going to destroy Jerusalem, the prophecy, Isaiah,
                       everybody was saying Jerusalem is going to get destroyed, I take it
                       back, it might not be Isaiah.

                       So, Lehi and his family—Nephi and Laman and Lemuel and Sam—
                       came to the Americas and about the time before Jesus came again,
                       about 50 to 100 BC. About 50 to 100 BC, that fight happened, that
                       I just spoke of.

                       And I am here to represent that, the Mormon element.

                       ‘Cause a lot of people are like Mitt Romney, you know, and I, you
                       know, there’s a lot of infiltrators in our nation, in our Capitol, in our

12
     https://www.youtube.com/watch?v=k5tUC4S3Reo&t=1613s
13
  A likely reference to Sir William Wallace (born circa 1270), one of Scotland’s national heroes
and the chief inspiration for Scottish resistance to the English king Edward I.
(https://www.britannica.com/biography/William-Wallace) William Wallace was popularized in
the 1995 film Braveheart.


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                       churches. I think Mitt Romney might be one of those people, they
                       have sold out to the system, and I just want to say, you know, I, I’m
                       here for freedom and peace and liberty and love and happiness.

(emphasis added).




IMAGE 27—A screenshot of a post made from another user’s X account in which they post a
picture of Entrekin again dressed up as Captain Moroni at a political rally in Mesa, AZ, on
October 9, 2022.

II.    LEGAL AUTHORITIES

       Pursuant to 18 U.S.C. § 3564(c), a court has discretion to terminate a term of probation

imposed in a misdemeanor case at any time “if it is satisfied that such action is warranted by the

conduct of the defendant and the interest of justice.” In making this determination, the Court must

consider the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable. Id.; see also

United States v. Hartley, 34 F.4th 919 (10th Cir. 2022) (holding district court must make

individualized determinations based on applicable statutory criteria before responding to request

to modify sentence); cf. United States v. Ferrell, 234 F.Supp.3d 61, 63 (D.D.C. 2017) (same

holding for considering early termination of probation in felony case).


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       As many courts have recognized, mere compliance with the conditions of probation does

not warrant early termination. Although “extraordinary circumstances . . . are not necessary for

such termination,” they “may be sufficient to justify early termination of a term of supervised

release.” United States v. Melvin, 978 F.3d 49, 53 (3d Cir. 2020). District courts are entrusted with

the discretion on whether to terminate probation or supervised release early consistent with these

rules. See, e.g., Folks v. United States, 733 F. Supp. 2d 649, 652 (M.D.N.C. 2010) (rejecting motion

for early termination of supervised release because there was nothing unusual about his case),

citing United States v. McKay, 352 F.Supp.2d 359, 361 (E.D.N.Y.2005); accord. United States v.

Medina, 17 F.Supp.2d 245, 247 (S.D.N.Y.1998) (noting that “[w]hile [defendant's] post-

incarceration conduct is apparently unblemished, this alone cannot be sufficient reason to

terminate the supervised release since, if it were, the exception would swallow the rule”); United

States v. Weintraub, 371 F.Supp.2d 164, 167 (D.Conn.2005) (noting that “[a]lthough [the

defendant’s] ongoing and full compliance with all conditions of supervised release, including

payment of the fine and restitution, is commendable, in the end that is what is required to all

criminal defendants and is not a basis for early termination of his supervised release”); United

States v. Caruso, 241 F.Supp.2d 466, 469 (D.N.J.2003) (ruling that “mere compliance with the

terms of probation or supervised release is what is expected of probationers, and without more, is

insufficient to justify early termination”); United States v. Hardesty, Case No. 95–20031–01–JWL,

2002 WL 731705 (D.Kan. Apr. 2, 2002) (rejecting arguments that defendant is “fully rehabilitated”

and complied in all respects with post-release requirements and that continued release would serve

“no meaningful and useful purpose”).

       Additionally, and as noted by the Probation Officer, the Judicial Conference on Criminal

Law has elaborated on statutory criteria and recommended that parole officers evaluate nine factors




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when deciding whether to approve early termination of probation or supervised release. Those

factors are:

               1.     Stable community reintegration (e.g., residence, family, employment);

               2.     Progressive strides toward supervision objectives and in compliance with
                      all conditions of supervision;

               3.     No aggravated role in the offense of conviction, particularly large drug or
                      fraud offenses;

               4.     No history of violence (e.g., sexually assaultive, predatory behavior, or
                      domestic violence);

               5.     No recent arrests or convictions (including unresolved pending charges) or
                      ongoing, uninterrupted patterns of criminal conduct;

               6.     No recent evidence of alcohol or drug abuse;

               7.     No recent psychiatric episodes;

               8.     No identifiable risk to the safety of any identifiable victim; and

               9.     No identifiable risk to public safety based on the Risk Prediction Index.

See Admin. Office of the United States Courts’ Guide to Judiciary Policy, Volume 8, Part E, §

380.10 (2012)14; United States v. Etheridge, 999 F. Supp. 2d 192, 195 (D.D.C. 2013) (considering

these factors in a motion for early termination of supervision). The Judiciary Policy regarding the

early termination of probation also states, “Offenders with identified risks to community safety

should not be recommended for early termination.” Judiciary Policy, § 380.10(d).




14
  http://jnet.ao.dcn/policyguidance/guide-judiciary-policy/volume-8-probation-and-pretrial-
services/part-e-supervisionfederal-offenders-monograph-109/ch-3-supervision-assessment-and-
planning-process#380_10


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III.   ANALYSIS

       A.      Entrekin Has Not Demonstrated New or Unforeseen Circumstances that
               Warrant Early Termination of Probation.

       Entrekin’s Motion fails to raise any new or unforeseen circumstances that warrant early

termination of Judge Pan’s sentence that included a 36-month term of probation. Entrekin offers

that, since his conviction, he works and has complied with the conditions imposed on him during

his sentencing hearing. ECF No. 41, pp. 6-8. While this is commendable, compliance is the

expectation. See United States v. Ferrell, 234 F.Supp.3d 61, 64 (D.D.C. 2021) (full compliance

with terms of probation, good behavior, and hope to take advantage of career advancement

opportunities did not warrant early termination of probation); United States v. Sutton, 4:19-MJ-

1146-RJ, 2021 WL 1807261 at *3 (collecting cases). Mere compliance is not sufficiently

compelling to warrant a sentence reduction. This is especially so given the continued need for

deterrence based on Entrekin’s obvious lack of remorse. As shown above, Entrekin’s public-facing

persona is that of Captain Moroni.15 This is only troubling to this Court when viewed through the

lens of whom Entrekin believes Captain Moroni to be. As see in the interview referenced above,

Entrekin proudly told the interviewer that his view of Captain Moroni is that he (Moroni) is like

William Wallace, the Scottish revolutionary who lead his fellow men in violent revolt against their

oppressors. Entrekin also told the interviewer that he carries around the Title of Liberty (the sheet

attached to the wooden dowel), because Captain Moroni did too. Entrekin emphasized that

“[Captain Moroni] held it up high when he fought against the King-Men, and they slayed the

King-Men” (emphasis added). As aptly stated by his Probation Officer, Entrekin’s “online




15
   His Instagram profile lists his name as Nathan Entrekin, aka Captain Moroni.
https://www.instagram.com/nathan.entrekin/


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presence and actions are concerning given the nature and circumstances of the underlying offense

and his involvement in the political unrest in the 2020 election.”

       Entrekin also contends that early termination is warranted because due to his probationary

status, he is unable to attend a truck driving school “in order to position himself for a higher-paying

job.” Id. at 8. These circumstances are basically unchanged from the time of his sentencing.

Entrekin does not contend that difficulty finding employment—particularly as a truck driver—is

an unforeseen circumstance following his conviction for participating in the storming of the United

States Capitol. Entrekin’s challenges finding employment are unfortunate but expected

consequences of the decisions he made on and around January 6, 2021. The full term of probation

is necessary to ensure that Entrekin continues to refrain from engaging in criminal activity.

       B.      Early Termination of Entrekin’s Probation Does Not Serve the Interest of
               Justice.

       Looking to the sentencing factors under 18 U.S.C. § 3553(a), early termination of probation

here would not serve the interest of justice. As to the nature and circumstances of the offense

(§ 3553(a)(1)), Entrekin participated in the January 6, 2021, insurrection and siege of the United

States Capitol, a violent event that delayed the certification of the Electoral College. Entrekin did

so after driving all the way across the country, picking out a costume to wear and props to bring

that had a distinctly militaristic and violent undertone, acknowledging in recordings that he saw

the riot police coming, pushing his way forward through all the crowds and chaos, being shoved

out of the Capitol once with “machinegun tasers” and “rubber bullets,” regrouping, reentering the

Capitol, being forced out again, then remaining on restricted Capitol grounds for much of that

afternoon, watching and smiling passively as other rioters assaulted members of the news media

and destroyed their equipment.




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       Entrekin’s motion suggests that he still views himself as some sort of political victim, rather

than a person on active supervision. To the contrary, Entrekin continues to troll those who assisted

in identifying him two years earlier with aggressive and antisocial rhetoric. He continues to reach

out to public figures, bemoaning both his criminal conviction and the ongoing criminal

investigation to others that participated in the January 6, 2021, siege of the U.S. Capitol. Contrary

to Entrekin’s characterizations of his actions, his prosecution and conviction are not a subversion

of justice, they were examples of the just workings of the criminal justice system.

       As to other sentencing factors—the history and characteristics of the defendant

(§ 3553(a)(1)); the need for the sentence to reflect the seriousness of the offense and promote

respect for the law (§ 3553(a)(2)(A)); and the need for the sentence to afford adequate deterrence

(§ 3553(a)(2)(B)); Judge Pan carefully considered these factors in imposing thirty-six months of

probation. Entrekin’s request for a reduction in that period would undercut Judge Pan’s balancing

of the § 3553(a) factors after hearing from the government, defense counsel, and Entrekin at the

sentencing hearing. And while none of Entrekin’s actions since his sentencing hearing would

justify this Court in imposing a longer term of probation, nothing he has done should compel this

Court to shorten his sentence.

IV.    ANOTHER JUDGE DENIED A SIMILARLY SITUATED DEFENDANT’S
       REQUESTS FOR EARLY TERMINATION OF PROBATION

       Just today, on October 16, 2023, a District Court Judge Richard Mark Gergel from the

District of South Carolina, Charleston Division, denied a strikingly similar request for early

termination of probation pursuant to U.S.C. §§ 3553(a) and 3564(c). United States v. John Hubert

Getsinger, Jr., ECF No. 12, 23-CR-605 (RMG) (Dist. of South Carolina) (Oct. 16, 2023)

(Attachment C). In Getsinger, the defendant and his wife traveled to Washington, D.C., entered

the U.S. Capitol, entered the office of then House Minority Leader Kevin McCarthy, and smoked



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marijuana in the Rotunda. Id. at 2-3. After pleading guilty to a single violation of 40 U.S.C.

§ 5104(e)(2)(G)—the same statute to which Entrekin pleaded guilty—District Judge Emmet G.

Sullivan sentenced Getsinger to a split sentence of 60 days incarceration to be followed by a three-

year term of probation. United States v. John Hubert Getsinger, Jr., et al., ECF No. 60, 21-CR-

607 (EGS) (Dist. of Columbia) (Attachment D). Once he served his sixty-day term of incarceration

and eleven months of his thirty-six-month term of probation, Getsinger filed a pro se motion for

early termination. ECF No. 4, 23-CR-605 (RMG). The government filed a response in opposition.

Id. at ECF No. 8.

       Today the Court ordered, “After carefully considering the full record in this matter and the

standards set forth in 18 U.S.C. §§ 3553(a) and 3564(c), the Court finds that the interest of justice

is not served by the early termination of Defendant’s probation.” Id. at ECF No. 12, p. 4. The Court

recognized that Getsinger’s sentence “had the obvious purpose of avoiding over-punishment of

Defendant but to use the combination of a brief period of incarceration and a term of probation to

deter Defendant in particular and others in general from engaging in conduct that posed a serious

threat to the rule of law and the orderly conducting of American elections.” Id. at 3. The Court

then commended Getsinger “for being compliant with the conditions of probation,” but at the same

time recognized “that is expected of every criminal defendant.” Id. The Court then recognized that

while being on probation can be “inconvenient and irritating,” part of the reason that courts will

impose “undesirable conditions on a defendant on probation” is in the hopes of “persuading the

defendant to avoid future violations of the criminal laws.” Id. at 3-4.

       Just like Getsinger, Entrekin may find the conditions of his probation to be “inconvenient

and irritating,” but this is by design. Since, like Getsinger, Entrekin has not shown any compelling




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reason as to why early termination serves the interest of justice, this Court should also deny

Entrekin’s request for early termination.

       In sum, Entrekin presents no new information warranting early termination of probation.

Judge Pan carefully crafted a sentence of a significant period of probation—thirty-six months—

that included conditions to address each of the § 3553(a) factors. A reduction to a less-than-15-

month probation period would contravene the interest of justice, especially considering the nature

and circumstances of Entrekin’s offense.

V.     CONCLUSION

       For the reasons set forth above, the government respectfully requests that the Court DENY

Entrekin’s Motion.

                                              Respectfully submitted,

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